Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 1 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 2 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 3 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 4 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 5 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 6 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 7 of 8
Case 23-70849   Doc 5   Filed 12/20/23 Entered 12/20/23 12:40:20   Desc Main
                           Document    Page 8 of 8
